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                               LOCAL BANKRUPTCY FORM 3015-1

                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:
Carey, David                                         CHAPTER 13
                                                     CASE NO. 5:21-bk-1841


                                                     [ ] ORIGINAL PLAN
                                                     [ X] AMENDED PLAN
                                                            (Indicate 1st , 2 nd , 3 rd , etc.):
                                                     [ ] Number of Motions to Avoid Liens
                                                     [ ] Number of Motions to Value Collateral




                                              CHAPTER 13 PLAN

                                                        NOTICES
Debtors must check one box on each line to state whether or not the plan includes each of the following
items. If an item is checked as“ Not Included”or if both boxes are checked or if neither box is checked, the
provision will be ineffective if set out later in the plan.

1    The plan contains nonstandard provisions, set [ ] Included                 [X]   Not Included
     out in § 9, which are not included in the
     standard plan as approved by the U.S.
     Bankruptcy Court for the Middle District of
     Pennsylvania.
2    The plan contains a limit on the amount of a    [ ]   Included             [X]   Not included
     secured claim, set out in § 2.E, which may
     result in a partial payment or no payment at
     all to the secured creditor.
3    The plan avoids a judicial lien or              [ ]   Included             [X]   Not included
     nonpossessory, nonpurchase-money security
     interest, set out in § 2.G.

                                 YOUR RIGHTS WILL BE AFFECTED
READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a timely
written objection. This plan may be confirmed and become binding on you without further notice or hearing
unless a written objection is filed before the deadline stated on the Notice issued in connection with the
filing of the plan.

1.       PLAN FUNDING AND LENGTH OF PLAN

         A. Plan Payments From Future Income

            1. To date, the Debtor paid $ 694.80 (enter $0 if no payments have been made to the Trustee


                                                     1

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                    to date). Debtor shall pay to the Trustee for the remaining term of the plan the following
                    payments. If applicable, in addition to monthly plan payments, Debtor shall make conduit
                    payments through the Trustee as set forth below. The total base plan is $60.00, plus other
                    payments and property stated in § 1B below:

                                                                Estimated
      Start               End                                    Conduit     Total Monthly      Total Payment
     mm/yyyy             mm/yyyy         Plan Payment           Payments       Payment          Over Plan Tier
     10/2021            9/2026                    $347.40                             347.40              60.00
                                                                            Total Payments:          20,844.00

               2. If the plan provides for conduit mortgage payments, and the mortgagee notifies the Trustee
                  that a different payment is due, the Trustee shall notify the Debtor and any attorney for the
                  Debtor, in writing, to adjust the conduit payments and the plan funding. Debtor must pay
                  all post-petition mortgage payments that come due before the initiation of conduit
                  mortgage payments.

               3. Debtor shall ensure that any wage attachments are adjusted when necessary to conform to
                  the terms of the plan.

               4.    CHECK ONE:             [X] Debtor is at or under median incomeIf this line is checked,
                                            the rest of § 1.A.4 need not be completed or reproduced.
                                            [ ] Debtor is over median income. Debtor estimates that a
                                            minimum of $ 0.00 must be paid to allowed unsecured, creditors
                                            in order to comply with the Means Test.

        B. Additional Plan Funding From Liquidation of Assets/Other

               1. The Debtor estimates that the liquidation value of this estate is $18,860.63. (Liquidation
                  value is calculated as the value of all non-exempt assets after the deduction of valid liens
                  and encumbrances and before the deduction of Trustee fees and priority claims.)

               Check one of the following two lines.

               [ X ] No assets will be liquidated. If this line is checked, the rest of § 1.B.2 and complete §
                       1.B.3 if applicable.
               [ ] Certain assets will be liquidated as follows:

               2. In addition to the above specified plan payments, Debtor shall dedicate to the plan
                  proceeds in the estimated amount of $             from the sale of property known and
                  designated as                   . All sales shall be completed by                   . If the
                  property does not sell by the date specified, then the disposition of the property shall be as
                  follows:

               3. Other payments from any source(s) (describe specifically) shall be paid to the Trustee as
                  follows:


2.      SECURED CLAIMS

        A. Pre-Confirmation Distributions. Check one.


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              [X]   None. If “None”is checked, the rest of § 2.A need not be completed or reproduced.

        1. The Trustee will not make a partial payment. If the Debtor makes a partial plan payment, or if it
        is not paid on time and the Trustee is unable to pay timely a payment due on a claim in this section,
        the Debtor’ s cure of this default must include any applicable late charges.

        2. If a mortgagee files a notice pursuant to Fed. R. Bankr. P. 3002.1(b), the change in the conduit
        payment to the Trustee will not require modification of this plan.

        B. Mortgages (Including Claims Secured by Debtor’
                                                        s Principal Residence) and Other Direct
           Payments by Debtor. Check one.

              [X]None. If   “None”is checked, the rest of § 2.B need not be completed or reproduced.

                                                                          ’
        C. Arrears (Including, but not limited to, claims secured by Debtor
                                                                          s principal residence).
           Check one.

              [ ]   None. If “None”is checked, the rest of § 2.C need not be completed or reproduced.

                            Description of      Monthly       Interest   Estimated    Total Plan
Name of Other Party           property          Payment         Rate      Arrears      Payment
LA Funding              Residence                                           10,000        10,000
HOA for residence Residence                                               7,259.52     7,259.52




        D. Other secured claims (conduit payments and claims for which a§ 506 valuation is not
           applicable, etc.).

              [X]   None. If “None”is checked, the rest of § 2.D need not be completed or reproduced.

        E. Secured claims for which a§ 506 valuation is applicable.Check one.

        [X]   None. If “None”is checked, the rest of § 2.E need not be completed or reproduced.

        F. Surrender of Collateral. Check one.

              [X]   None. If “None”is checked, the rest of § 2.F need not be completed or reproduced.

        G. Lien Avoidance. Do not use for mortgages or for statutory liens, such as tax liens. Check
           one.

              [X]   None. If “None”is checked, the rest of § 2.G need not be completed or reproduced.

3.      PRIORITY CLAIMS

        A. Administrative Claims:

              1. Trustee fees.        Percentage fees payable to the Trustee will be paid at the rate fixed by the



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                                   United States Trustee.

             2. Attorney fees. Complete only one of the following options:

                   a.      In addition to the retainer of $ 3,000.00 already paid by the Debtor, the amount of
                           $ 0.00 in the plan. This represents the unpaid balance of the presumptively
                           reasonable fee specified in L.B.R. 2016-2(c); or

                   b.      $250.00 per hour, with the hourly rate to be adjusted in accordance with the terms
                           of the written fee agreement between the Debtor and the attorney. Payment of such
                           lodestar compensation shall require a separate fee application with the
                           compensation approved by the Court pursuant to L.B.R. 2016-2(b).

             3. Other. Other administrative claims not included in§§ 3.A.1 or 3.A.2 above. Check one of
             the following two lines.

             [X]   None. If “None”is checked, the rest of § 3.A.3 need not be completed or reproduced.


             B. Priority Claims (including, certian Domestic Support Obligations

             Allowed unsecured claims entitled to priority under§ 1322(a) will be paid in full unless
             modified under §9.

                                                                                           Estimated Total
                                     Name of Creditor                                          Payment
None


             C. Domestic Support Obligations assigned to or owed to a governmental unit under 11
             U.S.C. §507(a)(1)(B). Check one of the following two lines.

             [X]   None. If “None”is checked, the rest of § 3.C need not be completed or reproduced.

4.     UNSECURED CLAIMS

       A. Claims of Unsecured Nonpriority Creditors Specially Classified
                                                                       . Check one of the
          following two lines.

             [X]   None. If “None”is checked, the rest of § 4.A need not be completed or reproduced.

       B. Remaining allowed unsecured claims will receive a pro-rata distribution of funds
          remaining after payment of other classes.

5.     EXECUTORY CONTRACTS AND UNEXPIRED LEASES. Check one of the following two
       lines.

       [ ]   None. If “None”is checked, the rest of § 5 need not be completed or reproduced.

       [X] The following contracts and leases are assumed (and arrears in the allowed claim to be cured in
       the plan) or rejected:



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                         Description of      Monthly        Interest   Estimated     Total Plan     Assume or
Name of Other Party     Contract or Lease    Payment          Rate      Arrears       Payment        Reject
Toyota Financial
Services                                                                                             Reject


6.        VESTING OF PROPERTY OF THE ESTATE.

          Property of the estate will vest in the Debtor upon

          Check the applicable line:

          [X]      plan confirmation.
          [ ]      entry of discharge.
          [ ]      closing of case:

7.        DISCHARGE: (Check one)

          [ X ] The debtor will seek a discharge pursuant to§ 1328(a).
          [ ] The debtor is not eligible for a discharge because the debtor   has previously received a discharge
          described in § 1328(f).

8.        ORDER OF DISTRIBUTION:

If a pre-petition creditor files a secured, priority or specially classified claim after the bar date, the Trustee
will treat the claim as allowed, subject to objection by the Debtor.

Payments from the plan will be made by the Trustee in the following order:

Level 1:   Adequate protection payments
Level 2:   Debtor's attorney's fees
Level 3:   Domestic Support Obligations
Level 4:   Priority Claims, pro rata
Level 5:   Secured claims, pro rata
Level 6:   Specially classified unsecured claims
Level 7:   General unsecured claims
Level 8:   Untimely filed unsecured claims to which the debtor has not objected

If the above Levels are filled in, the rest of § 8 need not be completed or reproduced. If the above Levels
are not filled-in, then the order of distribution of plan payments will be determined by the Trustee using the
following as a guide:

Level 1:    Adequate protection payments.
Level 2:    Debtor's attorney's fees.
Level 3:    Domestic Support Obligations.
Level 4:    Priority claims, pro rata.
Level 5:    Secured claims, pro rata.
Level 6:    Specially classified unsecured claims.
Level 7:    Timely filed general unsecured claims.
Level 8:    Untimely filed general unsecured claims to which the Debtor has not objected.




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9.      NONSTANDARD PLAN PROVISIONS

Include the additional provisions below or on an attachment. Any nonstandard provision placed
elsewhere in the plan is void. (NOTE: The plan and any attachment must be filed as one document,
not as a plan and exhibit.)

 Dated: November 29, 2021            /s/ John Everett. Cook
                                     Attorney for Debtor
                                     /s/ David Carey
                                     Debtor

                                     Joint Debtor

By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor also
certifies that this plan contains no nonstandard provisions other than those set out in§ 9.




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